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                           UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

  In Re:                              §
                                      §
  WHITESTONE BREWERY, LLC             §     CASE NO. 23-10325
  DBA WHITESTONE BREWERY              §
                                      §     Chapter 11
                                      §
                 Debtor.              §     Subchapter V
  ______________________________________________________________________________

                   NOTICE OF CHANGE OF DEBTORS’ ADDRESS
  ______________________________________________________________________________

           PLEASE TAKE NOTICE of the changed mailing address for Whitestone Brewery, LLC

  (the “Debtor”), and Debtor’s counsel hereby notifies the Court, all counsel of record, and any pro

  se party or parties in the above-captioned case, effective February 29, 2024. The telephone, fax,

  and emails remain the same. The corrected address is:

           Whitestone Brewery, LLC
           401 E. Whitestone Blvd., Ste. A-108
           Cedar Park, TX 78613


                                                       Respectfully submitted,

                                                       /s/ Todd Headden
                                                       Todd Headden
                                                       Texas Bar No. 24096285
                                                       Charlie Shelton
                                                       Texas Bar No: 24079317
                                                       HAYWARD PLLC
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